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                                                                                      2/6/2025
         UNITED STATES DISTRICT COURT
         �OUTHERN DISTRICT OF_N�_!Q_��--------.

                                                                    24 CIV. NO. 7479 OHR)
Primitivo Robles          on behalf of himself and all others       (HJR)
         similarly situated.
         Plaintiff(s),                                                  Case
                                                                       Management Plan and
                 -against-                                             Scheduling Order


         GREEN FLAMINGO DISPENSARY, U.C,
         Defendant(s).



               The parties submit this [Proposed] Case Management Plan and Scheduling
         Order pursuant to Federal Rule of Civil Procedure 26(f):

         1.      Meet and Confer: The parties met and conferred pursuant to Fed.
                 R. Civ. P. 16(c) and 26(f) on 2/5/25  via Email and Telephone
                 conversations.___________


         2.      Summary of Claims, Defenses, and Relevant Issues:

                 (a) A Brief Statement of the Nature of the Action and the Principal Defenses.

               This is a case brought under the Americans with Disabilities Act ("ADA"). The Plaintiff
        experienced accessibility issues when navigating the Defendant's public website with the use of
        his screen-reading software and maintains that the website's incompatibility with such aids
        renders it inaccessible to non-sighted individuals.

        PLAINTIFF: Plaintiff seeks injunctive relief to proht'bit Defendant from violating the
        Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq., and the N.Y.C. Administrative
        Code § 8-107. Plaintiff further seeks injunctive relief requiring Defendant to take all necessary
        steps to ensure its Website is in full compliance with the requirements set forth in the ADA, and
        its implementing regulations so that the Website is readily accessible to and usable by sight-­
        impaired individuals. Plaintiff further seeks class certification, as well as attorney's fees and
        costs. While Defendant contends that its Website is fully accessible, our rmn's audits of the
        subject Website reveal that this is not true.

             Prior to filing the Complaint, Joseph & Norinsberg, LLC's ADA Compliance Chief,
      Mitchell Pomerance, conducted a series of accessibility audits using Power Mapper's SortSite
      program and the Web Accessibility Evaluation Tool (WAVE). These audits confirmed that the
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     Defendant requires disclosure of Plaintiff's testing result and methodology.
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